 

Case 3:15-cr-00519-BH Document 314 Filed 04/11/16 Page 1 of 5 Page|D 1058

UNITED STATES DISTRICT COURT
NoRTHERN DISTRICT oF TEXAS DALLAS DivisloN

 

UNITED STATES OF AMERICA § JUDGMENT IN A CRIMINAL CASE
§
v. §
§ Case Number: 3:15-CR-00519-BH(27)
BRENDA HALL § USM Number: 54088-17 7
§ J_OFMQQQI_<
§ Defendant’s Attorney
THE DEFENDANT:
>'A pleaded guilty to COunf(S) Count 4 ofthe Informacion med on November 16, 2015

 

pleaded guilty to count(s) before a U.S. Magistrate
Judge, which was accepted by the court.

 

accepted by the court

 

 

E
m pleaded nolo contendere to count(s) which was
l:l

was found guilty on count(s) after a plea of not

 

 

 

guilty
The defendant is adjudicated guilty of these offenses:
Title & Section / Nature of Offense Offense Ended Count
18 USC § 1920 False Statement Or Fraud To Obtain Federal Employees' Compensation 09/04/2014 4

The defendant is sentenced as provided in pages 2 through 5 of this judgment The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

[] The defendant has been found not guilty on count(s)
i:l Count(s) |:i is \:| are dismissed on the motion of the United States

lt is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances

 

 

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Nom~lii`z"eva deemsz or mass Apnl 8, 2016
'!3`§`§ ,§3 n Date of Imposition of Judgment
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/Sigria'ture of Judge

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cLFPK. U-S» D§ST“‘CT IRMA CARRILLO RAMIREZ
w n il Q UNITED sTATEs MAGISTRATE JIJDGE
M " »' Name and Title of Judge

 

1//// ,//s/

Date

 

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DEFENDANT: BRENDA HALL

CASE NUMBER: 3:15-CR-00519-BH(27)

PROBATION

The defendant is hereby sentenced to probation for a tenn of: One (l) year as to count 4. The term of probation shall be unsupervised.
The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.

g The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of future
substance abuse. (Check zfapplicable.)

'l`he defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check ifapplicable_)

The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check ifapplicable.)

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
resides, works, is a student, or was convicted of a qualifying offense. (Check, ifapplicable.)

The defendant shall participate in an approved program for domestic violence. (Check, ifapplicable.)

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If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

STANDARD CONDITIONS OF PROBATION

the defendant shall not leave the judicial district without the permission of the court or probation officer;

the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

the defendant shall support his or her dependents and meet other family responsibilities;

the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other

acceptable reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7, the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8. the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9. the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer;

lO. the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

ll. the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

12. the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13. as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal

record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s

compliance with such notification requirement

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DEFENDANT: BRENDA HALL
CASE NUMBER: 3:15-CR-00519-BH(27)

SPECIAL CONDITIONS OF PROBATION

Pursuant to the Mandatory Victims Restitution Act of 1996, the defendant is ordered to pay restitution in the
amount of $4,500, payable to the U.S. District Clerk, 1100 Commerce Street, Room 1452, Dallas, Texas 75242.
Restitution Shall be payable immediately and shall be disbursed to:

U.S. Department of Labor
Office of Workers' Compensation Programs
Re: DOL Claim Nos. 162100124

If the restitution has not been paid in full within 30 days of the date of this judgment, the defendant shall make
payments on such unpaid balance in monthly installments of not less than 10 percent of the defendant's gross
monthly income, or at a rate of not less than $50 per month, whichever is greater, until the balance is paid in
full. In addition, at least 50 percent of the receipts received from gifts, tax returns, inheritances, bonuses, lawsuit
awards, and any other receipt of money shall be paid toward the unpaid balance within 15 days of receipt. This
payment plan shall not affect the ability of the United States to immediately collect payment in full through
garnishment, the Treasury Offset Program, the Federal Debt Collection Procedures Act of 1990 or any other
means available under federal or state law. Furthermore, it is ordered that interest on the unpaid balance is
waived pursuant to 18 U.S.C. § 3612(f)(3).

Any unpaid balance of the restitution ordered by this Judgment shall be paid in full 60 days prior to the
termination of the term of probation.

The Court does not order a fine because the defendant does not have the financial resources or future earning
capacity to pay a fine within the guideline range.

lt is further ordered that the defendant pay a special assessment of $25.

While on probation, the defendant shall comply with the standard conditions contained in this Judgment and
shall comply with the mandatory and special conditions stated herein:

1. The defendant shall not commit another federal, state, or local crime.
2. The defendant shall not illegally possess controlled substances
3. The mandatory drug testing condition is suspended based on the Court's determination that the

defendant poses a low risk of future substance abuse.

4. The defendant shall notify the Court of any material change in the defendants economic circumstances
that might affect the defendant's ability to pay restitution, fines, or special assessment.

5. The defendant shall pay any remaining balance of restitution in the amount of $4,500, as set out in this
Judgment.
6. The defendant shall resign or retire from the United States Department of Veteran Affairs within five

days of this Judgment. The defendant shall not apply for employment or rehire with the U.S. Department
of Veteran Affairs

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DEFENDANT: BRENDA HALL
CASE NUMBER: 31 15-CR-00519-BH(27)

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

 

 

 

 

 

 

 

 

 

 

Assessment Fine Restitut_i<_)g_
TOTALS 825.00 $.00 $4,500.00
[:\ The determination of restitution is deferred until An Amena’ed Judgment in a Criminal Case (A0245C) will be entered

after such determination
The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each payee shall receive an approximately proportioned payment However, pursuant to 18
U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

Restitution of $4,500.00 to:
U.S. Department of Labor

Restitution amount ordered pursuant to plea agreement $

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The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

l:i The court determined that the defendant does not have the ability to pay interest and it is ordered that:

g the interest requirement is waived for the [:] fine restitution
[:] the interest requirement for the [:| fine m restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.

 

AO 245B (Rev. TXN 10/12) Judgment in a Criminal Case

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DEFENDANT: BRENDA HALL
CASE NUMBER: 3:15-CR-00519-BH(27)

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A

\:] Lump sum payments of $ due immediately, balance due

not later than , or
inaccordance {:] C, |:\ D, [:\ E, or |:| Fbelow; or

Payment to begin immediately (may be combined with [] C7 \:| D, or |:| F below); or

[:ll:|l:ll:|

Payment in equal w (e.g., weekly, monrhly, quarterly) installments of $ over a period of

(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $ over a period of

i:l

(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment
to a term of supervision; or

|'_’_] Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release
from imprisonment The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
time; or

IZ Special instructions regarding the payment of criminal monetary penalties:

It is ordered that the Defendant shall pay to the United States a special assessment of $25.00 for Count 4 which shall
be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment payment of criminal monetary penalties is
due during imprisonment All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

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Joint and Several
See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate

:i Defendant shall receive credit on her restitution obligation for recovery from other defendants who contributed to the same
loss that gave rise to defendants restitution obligation

The defendant shall pay the cost of prosecution
The defendant shall pay the following court cost(s):
The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (l) assessment (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

 

